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                                Fax No.:     949.724.1201
                          6
                                Attorneys for Defendants
                          7     BEAUTY SYSTEMS GROUP, LLC AND
                                SALLY BEAUTY HOLDINGS, INC.
                          8
                          9                            UNITED STATES DISTRICT COURT
                   10                                CENTRAL DISTRICT OF CALIFORNIA
                   11
                   12           NOEMI GOMEZ,                              Case No. 2:22-cv-03685
                   13                          Plaintiff,                 CERTIFICATE OF SERVICE OF
                                                                          NOTICE TO STATE COURT AND
                   14                 v.                                  ADVERSE PARTIES OF
                                                                          REMOVAL TO FEDERAL
                   15           BEAUTY SYSTEMS GROUP LLC,                 COURT
                                SALLY BEAUTY HOLDINGS, INC.,
                   16           JENNIFER MARTINEZ, and DOES 1
                                through 20, inclusive,
                   17
                                               Defendants.
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LITTLER MEND ELSO N, P.C.
    18565 Jamboree Road
           Suite 800
      Irvine, CA 92612
        949.705.3000
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                          1           I, Cecilia Mendoza, certify and declare as follows:
                          2           I am over the age of 18 years and not a party to this action.
                          3           My business address is Littler Mendelson, P.C., 18565 Jamboree Road, Suite
                          4     800, Irvine, California 92612, which is located in the city, county and state where the
                          5     mailing described below took place.
                          6           On May 31, 2022, I served and filed the Notice to State Court and Adverse Parties
                          7     of Removal to Federal Court, a true and correct copy of which is attached as Exhibit A
                          8     to this Certificate along with the Proof of Service, by placing true copies of the same
                          9     for collection and mailing following the firm’s ordinary business practice in a sealed
                   10           envelope with postage thereon fully prepaid for deposit in the United States mail at
                   11           Irvine, California.
                   12                 I declare under penalty of perjury that the foregoing is true and correct.
                   13                 Executed on May 31, 2022, at Irvine, California.
                   14
                   15
                   16                                                 Cecilia Mendoza
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LITTLER MEND ELSO N, P.C.

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           Suite 800
      Irvine, CA 92612
        949.705.3000
Case 2:22-cv-03685-MAA Document 6 Filed 05/31/22 Page 3 of 94 Page ID #:102




        EXHIBIT A
Electronically FILED by Superior Court of California, County of Los Angeles on 05/31/2022 12:14 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Mariano,Deputy Clerk
                                Case 2:22-cv-03685-MAA Document 6 Filed 05/31/22 Page 4 of 94 Page ID #:103



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                            6
                                  Attorneys for Defendants
                            7     BEAUTY SYSTEMS GROUP LLC and SALLY
                                  BEAUTY HOLDINGS, INC.
                            8

                            9                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA

                      10                                                         COUNTY OF LOS ANGELES

                      11

                      12          NOEMI GOMEZ,                                                                Case No. 22STCV13843

                      13                                  Plaintiff,                                          NOTICE TO STATE COURT AND
                                                                                                              ADVERSE PARTIES OF REMOVAL TO
                      14                   v.                                                                 FEDERAL COURT

                      15          BEAUTY SYSTEMS GROUP LLC, SALLY                                             ASSIGNED FOR ALL PURPOSES TO
                                  BEAUTY HOLDINGS, INC., JENNIFER                                             JUDGE HON. WILLIAM FAHEY, DEPT.
                      16          MARTINEZ, and DOES 1 through 2, inclusive,                                  69

                      17                                  Defendants.                                         Trial Date: Not Set
                                                                                                              Complaint Filed: April 26, 2022
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  LITTLER MEND ELSO N, P.C.       4872-8528-1056.1 / 116245-1000
      18565 Jamboree Road
             Suite 800
        Irvine, CA 92612
          949.705.3000


                                           NOTICE TO STATE COURT AND ADVERSE PARTIES OF REMOVAL TO FEDERAL COURT
                              Case 2:22-cv-03685-MAA Document 6 Filed 05/31/22 Page 5 of 94 Page ID #:104



                          1     TO THE CLERK OF THE ABOVE-ENTITLED COURT, PLAINTIFF NOEMI GOMEZ,

                          2     AND HER ATTORNEYS OF RECORD:

                          3              PLEASE TAKE NOTICE that Defendants BEAUTY SYSTEMS GROUP LLC and SALLY

                          4     BEAUTY HOLDINGS, INC. filed a Notice of Removal of Civil Action to Federal Court pursuant to

                          5     28 U.S.C. Sections 1332, 1441, 1446, and 1453 (“Notice of Removal”) in the United States District

                          6     Court for the Central District of California on May 31, 2022. A copy of said Notice of Removal is

                          7     attached to this Notice as Exhibit “1,” and is served and filed herewith.

                          8              PLEASE TAKE FURTHER NOTICE that the filing of said Notice of Removal in federal court,

                          9     together with the filing of a copy of said notice with this Court, effects the removal of this action in

                    10          accordance with 28 U.S.C. section 1446(d).

                    11

                    12          Dated: May 31, 2022
                                                                                     LITTLER MENDELSON, P.C.
                    13

                    14

                    15
                                                                                     Ian G. Robertson
                    16                                                               Katharine McCall
                    17                                                               Attorneys for Defendants
                                                                                     BEAUTY SYSTEMS GROUP LLC and SALLY
                    18                                                               BEAUTY HOLDINGS, INC.
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                                         NOTICE TO STATE COURT AND ADVERSE PARTIES OF REMOVAL TO FEDERAL COURT
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                          6
                                Attorneys for Defendants
                          7     BEAUTY SYSTEMS GROUP, LLC AND
                                SALLY BEAUTY HOLDINGS, INC.
                          8
                          9                              UNITED STATES DISTRICT COURT
                   10                                  CENTRAL DISTRICT OF CALIFORNIA
                   11
                   12           NOEMI GOMEZ,                                   Case No.
                   13                            Plaintiff,                    NOTICE TO FEDERAL COURT
                                                                               OF REMOVAL OF CIVIL
                   14                  v.                                      ACTION FROM STATE COURT
                                                                               PURSUANT TO 28 U.S.C.
                   15           BEAUTY SYSTEMS GROUP LLC,                      SECTIONS 1332(A)(1), 1441, AND
                                SALLY BEAUTY HOLDINGS, INC.,                   1446
                   16           JENNIFER MARTINEZ, and DOES 1
                                through 20, inclusive,
                   17
                                                 Defendants.
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                          1     TO THE CLERK OF THE ABOVE-ENTITLED COURT, PLAINTIFF NOEMI
                          2     GOMEZ, AND PLAINTIFF’S ATTORNEYS OF RECORD:
                          3            PLEASE TAKE NOTICE that Defendants BEAUTY SYSTEMS GROUP LLC
                          4     and SALLY BEAUTY HOLDINGS, INC. (collectively “Defendants”) hereby remove
                          5     the above-entitled action, Case No.22STCV13843, from the Superior Court of the State
                          6     of California, County of Los Angeles, to the United States District Court for the Central
                          7     District of California, pursuant to 28 U.S.C. sections 1332, 1441 and 1446.
                          8            This Notice is based upon the original jurisdiction of the federal district court
                          9     over the parties under 28 U.S.C. section 1332 (“Section 1332”) based upon complete
                   10           diversity of citizenship.
                   11                  Defendants make the following allegations in support of their Notice of Removal:
                   12                                   JURISDICTION [LOCAL RULE 8-1]
                   13                  1.    This Court has original jurisdiction under 28 U.S.C. section 1332(a)(1),
                   14           and this case may be removed pursuant to the provisions of 28 U.S.C. section 1441(a),
                   15           in that it is a civil action wherein the amount in controversy for the named plaintiff
                   16           exceeds the sum of seventy-five thousand dollars ($75,000.00), exclusive of interest
                   17           and costs, and it is between “citizens of different States.” As set forth below, this case
                   18           meets all of Section 1332’s requirements for removal and is timely and properly
                   19           removed by the filing of this Notice.
                   20                  2.    Venue is proper in this Court pursuant to 28 U.S.C. sections 84(c)(2), 1391,
                   21           and 1446.
                   22                                 PLEADINGS, PROCESS AND ORDERS
                   23                  3.    This lawsuit arises out of the Complaint of Plaintiff NOEMI GOMEZ
                   24           (“Plaintiff”) related to her alleged employment with Defendants. On April 26, 2022,
                   25           Plaintiff filed a Complaint in the Superior Court of the State of California, County of
                   26           Los Angeles, styled Noemi Gomez v. Beauty Systems Group LLC; Sally Beauty
                   27           Holdings, Inc.; Jennifer Martinez; and DOES 1 through 20, inclusive, bearing Case
                   28           No. 22STCV13843.        On April 29, 2022, Plaintiff served on Defendants SALLY
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                          1     BEAUTY HOLDINGS, INC. (herein “SBH”) and BEAUTY SYSTEMS GROUP LLC
                          2     (herein “BSG”) a copy of the Complaint, Summons, Civil Case Cover Sheet, Civil Case
                          3     Cover Sheet Addendum and Statement of Location, Notice of Case Assignment, First
                          4     Amended General Order, Order Pursuant to CCP 1054(a) Extending Time to Respond
                          5     by 30 Days When Parties Agree to Early Organizational Meeting Stipulation, and
                          6     Alternative Dispute Resolution Information Package.         The Complaint asserts the
                          7     following nine causes of action: (1) Gender, Sex, Disability, and Medical Condition
                          8     Harassment and Hostile Work Environment, Cal. Gov. Code § 12940(j); (2) Gender,
                          9     Sex, Disability, and Medical Condition Discrimination, Cal. Gov. Code § 12940(a);
                   10           (3) Failure to Prevent Discrimination and Harassment, in Violation of FEHA, Cal. Gov.
                   11           Code § 12940(k); (4) Failure to Engage in a Good Faith Interactive Process, Cal. Gov.
                   12           Code §12940(n); (5) Failure to Provide Reasonable Accommodation, Cal. Gov. Code §
                   13           12940(m); (6) Retaliation in Violation of FEHA, Cal. Gov. Code § 12940(h);
                   14           (7) Retaliation, Cal. Lab. Code § 1102.5; (8) Violation of Pregnancy Disability Leave
                   15           Laws; and (9) Wrongful Discharge in Violation of Public Policy. Attached hereto as
                   16           Exhibit “A” is a true and correct copy of the Complaint. On May 26, 2022, Defendants
                   17           SBH and BSG filed an Answer to Plaintiff’s Complaint.
                   18                  4.    Attached hereto are the following documents served on Defendants SBH
                   19           and BSG: Exhibit “B” is a true and correct copy of the Summons; Exhibit “C” is a
                   20           true and correct copy of the Civil Case Cover Sheet; Exhibit “D” is a true and correct
                   21           copy of the Civil Case Cover Sheet Addendum and Statement of Location; Exhibit “E”
                   22           is a true and correct copy of the Notice of Case Assignment; Exhibit “F” is a true and
                   23           correct copy of the First Amended General Order; Exhibit “G” is a true and correct
                   24           copy of the Order Pursuant to CCP 1054(a) Extending Time to Respond by 30 Days
                   25           When Parties Agree to Early Organizational Meeting Stipulation; Exhibit “H” is a true
                   26           and correct copy of the Alternative Dispute Resolution Information Package; and
                   27           attached hereto as Exhibit “I” is a true and correct copy of the Answer of Defendants
                   28           SBH and BSG.
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                          1         5.     Pursuant to 28 U.S.C. section 1446(a), the attached exhibits constitute all
                          2   process, pleadings, and orders served upon Defendants SBH or BSG or filed or received
                          3   in this action by Defendants SBH or BSG.
                          4                              TIMELINESS OF REMOVAL
                          5         6.     On April 29, 2022, Defendants SBH and BSG were served with notice of
                          6   process.
                          7         7.     Pursuant to 28 U.S.C. section 1446(b), this Notice of Removal is therefore
                          8   timely filed as it is filed within thirty (30) days after Defendants SBH and BSG was
                          9   effectively served with the Summons and Complaint and within one year after
                   10         commencement of this action, taking court rules regarding deadlines landing on
                   11         weekends and holidays into account.
                   12                    DIVERSITY JURISDICTION PURSUANT TO SECTION 1332
                   13               8.     Section 1332(a) provides, in relevant part, as follows:
                   14                      The district courts shall have original jurisdiction of all civil
                   15                      actions where the matter in controversy exceeds the sum or value
                   16                      of $75,000, exclusive of interest and costs, and is between –
                   17                      (1)   citizens of different States[.]
                   18               9.     This action is a civil action over which this Court has original jurisdiction
                   19         based on diversity of citizenship pursuant to Section 1332(a), and is one which may be
                   20         removed to this Court by Defendants SBH and BSG pursuant to 28 U.S.C. section
                   21         1441(b) because it is a civil action between citizens of different States and the amount
                   22         in controversy exceeds $75,000, exclusive of interest and costs, as set forth below.
                   23               10.    For diversity purposes, a person is a “citizen” of the State in which he or
                   24         she is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir.
                   25         1983). A person’s domicile is the place he or she resides with the intention to remain,
                   26         or to which he or she intends to return. Kanter v. Warner-Lambert Co., 265 F.3d 853,
                   27         857 (9th Cir. 2001). Plaintiff alleges that she is and was at all times relevant to this
                   28         lawsuit a resident of the City of Hawthorne, California, which is located within the
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                          1   County of Los Angeles in the State of California, and she is therefore a citizen of the
                          2   State of California. (Exhibit “A,” Complaint, ¶ 1.) See Lew v. Moss, 797 F.2d 747, 751
                          3   (9th Cir. 1986) (residency can create a rebuttable presumption of domicile supporting
                          4   diversity of citizenship); see also State Farm Mut. Auto Ins. Co. v. Dyer, 19 F.3d 514,
                          5   519-20 (10th Cir. 1994) (allegation by party in state court complaint of residency
                          6   “created a presumption of continuing residence in [state] and put the burden of coming
                          7   forward with contrary evidence on the party seeking to prove otherwise”); see also
                          8   Smith v. Simmons, No. 105-CV-01187-OWW-GSA, 2008 WL 744709, at *7 (E.D. Cal.
                          9   Mar. 18, 2008) (place of residence provides “prima facie” case of domicile).
                   10                11.   For diversity jurisdiction purposes, a corporation is deemed a citizen of its
                   11         State of incorporation and the State where it has its principal place of business. Section
                   12         1332(c)(1). As clarified by the United States Supreme Court in Hertz Corp. v. Friend,
                   13         559 U.S. 77 (2010), “the phrase ‘principal place of business’ [in Section 1332(c)(1)]
                   14         refers to the place where the corporation’s high level officers direct, control, and
                   15         coordinate the corporation’s activities. Lower federal courts have often metaphorically
                   16         called that place the corporation’s ‘nerve center.’ We believe that the ‘nerve center’
                   17         will typically be found at a corporation’s headquarters.” (Citations omitted.)
                   18                12.   For purposes of determining diversity jurisdiction, a limited liability
                   19         company is a citizen of every state in which its members are citizens. Johnson v.
                   20         Columbia Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006).
                   21                                           Corporate Defendants
                   22                13.   Defendant SBH was, at the time of filing this action, and still is, a
                   23         corporation incorporated under the laws of the State of Delaware. (Declaration of
                   24         Kenneth Mark Newton in support of Defendants’ Notice of Removal of Civil Action to
                   25         Federal Court (“Newton Decl.”), ¶ 3.) Defendant SBH’s principal place of business is
                   26         in the State of Texas. (Id. at ¶ 5.) Defendant SBH is therefore not a citizen of the State
                   27         in which this action is pending and is, in fact, a citizen of a different State than that of
                   28         Plaintiff.
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                          1          14.    Defendant BSG was, at the time of filing this action, and still is, a Virginia
                          2   limited liability company with its principal place of business in Denton, Texas.
                          3   (Newton Decl., ¶¶ 4-5.) Its sole member is Sally Holdings LLC, a Delaware limited
                          4   liability company with its principal place of business in Denton, Texas. (Id. at ¶ 6.)
                          5   Sally Holdings LLC, in turn, is a single-member limited liability company and its sole
                          6   member is Sally Investment Holdings LLC, a Delaware limited liability company with
                          7   its principal place of business in Denton, Texas. (Id.) Sally Investment Holdings LLC,
                          8   in turn, is a single-member limited liability company and its sole member is Defendant
                          9   SBH, a Delaware corporation with its principal place of business in Denton, Texas.
                   10         (Id.) Because Defendant BSG is a single-member limited liability company with
                   11         multiple limited liability company sub-members, and its ultimate member is a
                   12         corporation that is a citizen of the State of Texas and the State of Delaware, Defendant
                   13         BSG is therefore a citizen of the State of Texas and a citizen of the State of Delaware.
                   14         Thus, it is not a citizen of the State in which this action is pending and it is a citizen of
                   15         a different State than that of Plaintiff.
                   16                                 Fraudulently Joined Individual Defendant
                   17                15.    Defendant JENNIFER MARTINEZ (“Martinez”) is not a proper defendant
                   18         in this action and thus her citizenship must be disregarded under the doctrine of
                   19         fraudulent joinder. Lewis v. Time, Inc., 83 F.R.D. 455, 460 (E.D. Cal. 1979), aff’d, 710
                   20         F.2d 549 (9th Cir. 1983). Plaintiff has failed to state a cognizable claim for relief against
                   21         Martinez, whom she only named as a defendant to the first cause of action: Harassment
                   22         and Hostile Work Environment. As set forth herein, this claim cannot be maintained as
                   23         against Martinez.
                   24                16.    In fraudulent joinder cases, the Court attempts to determine whether there
                   25         exists “a reasonable basis for predicting that the state law might impose liability on the
                   26         facts involved.” Lewis, supra, 83 F.R.D. at 463 (internal citation omitted). Thus, if the
                   27         plaintiff fails to state a cause of action against a non-diverse defendant, and the failure
                   28         is obvious according to settled state law, then the joinder is deemed fraudulent. See
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                          1   Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1067 (9th Cir. 2001); McCabe v.
                          2   General Foods Corp., 811 F.2d 1336, 1339 (9th Cir. 1987) (joinder of plaintiff’s
                          3   supervisor as defendant with respect to claim for IIED was fraudulent where plaintiff
                          4   alleged that supervisor terminated him due to malice and ill will).
                          5         17.    Although claims for “harassment” can theoretically be maintained against
                          6   individuals, the factual allegations that Plaintiff alleges in support of her first cause of
                          7   action do not support a viable claim against Martinez.
                          8         18.    “The elements [of a prima facie claim of hostile-environment harassment]
                          9   are: (1) plaintiff belongs to a protected group; (2) plaintiff was subject to unwelcome
                   10         harassment; (3) the harassment complained of was based on [the protected category];
                   11         (4) the harassment complained of was sufficiently pervasive so as to alter the conditions
                   12         of employment and create an abusive working environment; and (5) respondeat
                   13         superior.” Fisher v. San Pedro Peninsula Hospital, 214 Cal. App. 3d 590, 608 (1989)
                   14         (footnote omitted).
                   15               19.    In determining what constitutes “sufficiently pervasive” harassment,
                   16         courts have held that acts of harassment “cannot be occasional, isolated, sporadic or
                   17         trivial; rather, the plaintiff must show a concerted pattern of harassment of a repeated,
                   18         routine or a generalized nature.” Fisher, supra, 214 Cal. App. 3d at 609-610 (a plaintiff
                   19         must show a concerted pattern of harassment of a repeat, routine, or a generalized
                   20         nature); Etter v. Veriflo Corp., 67 Cal. App. 4th 457, 466 (1998) (racial remarks made
                   21         to a stock room worker every day for six weeks was not severe and pervasive conduct);
                   22         see also Faragher v. City of Boca Raton, 524 U.S. 775, 788 (1998) (“[a] recurring point
                   23         in these opinions is that ‘simple teasing,’...offhand comments, and isolated incidents
                   24         (unless extremely serious) will not amount to discriminatory changes in the ‘terms and
                   25         conditions of employment’”). Only for very severe cases will such an isolated incident
                   26         amount to harassment. See Herberg v. California Institute of the Arts, 101 Cal.App.4th
                   27         142, 151 (2002) (“review of the cases they cite reveals that such a single incident must
                   28         be severe in the extreme and generally must include either physical violence or the
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                          1   threat thereof”); Department of Corrections v. State Personnel Bd., 59 Cal.App.4th 131,
                          2   134 (1997) (noting incident of rape may be enough but not a single incident in which
                          3   corrections officer used profane language and shook a female Hispanic fellow officer
                          4   by the collar to emphasize his point). The Ninth Circuit has also held that “simple
                          5   teasing, offhand comments, and isolated incidents (unless extremely serious) will not
                          6   amount to discriminatory changes in the terms and conditions of employment.” Manatt
                          7   v. Bank of America, 339 F.3d 792, 798 (9th Cir. 2003) (citations omitted).
                          8         20.    In Plaintiff’s Complaint, there are only two factual allegations
                          9   specifically about Martinez and they include zero indicia of harassment or the
                   10         creation of a hostile work environment:
                   11                      3.    Plaintiff is informed and believes that defendant JENNIFER
                   12                      MARTINEZ (“defendant MARTINEZ”) is an individual residing and
                   13                      employed in Los Angeles County, California.
                   14                      ***
                   15                      12. Defendant Martinez told Plaintiff “I do not want you lifting heavy
                   16                      things because you are pregnant.” Plaintiff was denied her previous
                   17                      shifts and hours without reason.
                   18         (Exhibit A, Complaint at ¶¶ 3, 12 (emphasis added).)
                   19               21.    Plaintiff’s Complaint therefore includes no facts upon which she might be
                   20         able to pursue a hostile work environment harassment claim against Martinez. Rather,
                   21         at most, Plaintiff has described a non-actionable personnel management decision about
                   22         which job duties Plaintiff would be asked to perform. See, e.g., Janken v. GM Hughes
                   23         Electronics, 46 Cal. App. 4th 55, 64-65 (1996) (“personnel management” actions
                   24         cannot give rise to a harassment claim). “Personnel management” decisions include
                   25         “hiring and firing, job or project assignments, office or work station assignments,
                   26         promotion or demotion, performance evaluations, the provision of support, the
                   27         assignment or nonassignment of supervisory functions, deciding who will and who will
                   28         not attend meetings, deciding who will be laid off, and the like . . .” Id. These are the
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                          1   actions of the sort “necessary to carry out the duties of business and personnel
                          2   management.” Id. at 65. The alleged harassment by Martinez is nothing more than a
                          3   personnel management decision about her job duties – allegedly related to the routine
                          4   handling of an employee’s need for an accommodation – which cannot subject Martinez
                          5   to personal liability and does not support a claim for unlawful harassment. Id. at 64-65.
                          6         22.    As the sole cause of action alleged against Martinez cannot be maintained
                          7   against her, the citizenship of Martinez must be ignored for the purpose of determining
                          8   diversity. See Lewis, supra, 83 F.R.D. at 460.
                          9                                       Doe Defendants
                   10               23.    The Complaint names as defendants “DOES 1 through 50.” Pursuant to
                   11         28 U.S.C. section 1441(a), however, the citizenship of defendants sued under fictitious
                   12         names must be disregarded for the purpose of determining diversity jurisdiction. See
                   13         Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-91 (9th Cir. 1998). Thus, there exists
                   14         complete diversity in this case.
                   15               24.    As more fully set forth below, the amount in controversy in the Complaint
                   16         exceeds the sum of seventy-five thousand dollars ($75,000.00), exclusive of interest
                   17         and costs.
                   18                 THE AMOUNT IN CONTROVERSY REQUIREMENT IS MET
                   19               25.    To measure the amount in controversy, the Ninth Circuit instructs courts
                   20         to first consider whether it is “facially apparent” from the complaint that the
                   21         jurisdictional amount has been satisfied. Singer v. State Farm Mut. Auto. Ins. Co., 116
                   22         F.3d 373, 377 (9th Cir. 1997). In measuring the amount in controversy, “a court must
                   23         assume that the allegations of the complaint are true and assume that a jury will return
                   24         a verdict for the plaintiff on all claims made in the complaint.” Kenneth Rothschild
                   25         Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002)
                   26         (internal quotations and brackets omitted).
                   27               26.    If the complaint does not clearly establish the jurisdictional amount, then
                   28         the court may consider facts in the removal petition. Singer, supra, 116 F.3d at 377;
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                          1   see also Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004); (“[W]e
                          2   reiterate that the amount-in-controversy inquiry in the removal context is not confined
                          3   to the face of the complaint.”). Defendants’ burden is not high – they simply must
                          4   show, by preponderance of the evidence, that the amount in controversy exceeds
                          5   $75,000. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996).
                          6         27.    Here, it can be reasonably ascertained from the pleadings and the prayer
                          7   for relief that the amount in controversy does, in fact, exceed $75,000. Initially, Plaintiff
                          8   seeks general and special damages, which would include compensatory damages in the
                          9   form of loss of earnings and benefits. (Exhibit A, Complaint, p. 17, Prayer, ¶¶ 1-2.)
                   10         Plaintiff worked from February 5, 2021 until September 18, 2021.               (Exhibit A,
                   11         Complaint, ¶¶ 9, 13; Newton Decl., ¶ 7.) Plaintiff’s final rate of pay was $15.00 per
                   12         hour (Id.), which equals an annual income of approximately $30,000.00 based upon a
                   13         40 hour per week work schedule with two weeks off (i.e., 2,000 hours per year).
                   14         Defendants anticipate a trial date in this matter in approximately mid-to-late 2023.
                   15         Although Defendants deny that Plaintiff is entitled to recover any damages, assuming,
                   16         arguendo, that Plaintiff was awarded back wages for approximately two years (from
                   17         her last date of employment to the likely date of trial), the amount of back pay in
                   18         controversy in this case based on her hourly rate would total approximately $60,000.00.
                   19               28.    In addition, Plaintiff’s prayer for general and special damages may include
                   20         front pay as a result of the alleged wrongs by Defendants. (Exhibit A, Complaint, p. 17,
                   21         Prayer, ¶¶ 1-2.) Such awards in California can span several years. See Rabago-Alvarez
                   22         v. Dart Indus., 55 Cal. App. 3d 91, 92 (1976) (four years); Drzewiecki v. H & R Block,
                   23         Inc., 24 Cal. App. 3d 695, 705 (1972) (ten years). Even estimating that Plaintiff seeks
                   24         front pay damages for two years, the amount of future wages in controversy in this case
                   25         would total at least an additional $60,000.00, approximately. Thus, it may reasonably
                   26         be estimated that Plaintiff’s claims involve possible back pay and front pay damages
                   27         which alone total approximately $120,000.00.
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                          1         29.    Plaintiff also seeks recovery of non-economic damages and “severe”
                          2   emotional distress, including but not limited to damages for “humiliation, anxiety,
                          3   severe emotional distress, worry, fear, and injury to her reputation.” (Exhibit A,
                          4   Complaint, ¶ 22; and p. 17, Prayer, ¶ 1-2.) An award of damages for emotional distress
                          5   alone can reasonably be anticipated to be far in excess of the jurisdictional minimum.
                          6   Simmons v. PCR Technology, 209 F. Supp. 2d 1029, 1034 (N.D. Cal. 2002) (citing case
                          7   in which an award for pain and suffering in an employment discrimination case totaled
                          8   $3.5 million, and recognizing that “emotional distress damages in a successful
                          9   employment discrimination case may be substantial”).
                   10               30.    Plaintiff also seeks punitive damages. (Exhibit A, Complaint, p. 17,
                   11         Prayer, ¶ 3.) The Court must take into account punitive damages for purposes of
                   12         determining the amount in controversy where such damages are recoverable under state
                   13         law. See Davenport v. Mutual Benefit Health and Accident Ass’n, 325 F.2d 785, 787
                   14         (9th Cir. 1963); Brady, supra, 243 F. Supp. 2d at 1009. California law does not provide
                   15         any specific monetary limit on the amount of punitive damages that may be awarded
                   16         under Civil Code section 3294. Boyle v. Lorimar Productions, Inc., 13 F.3d 1357, 1360
                   17         (9th Cir. 1994). Additionally, employment discrimination cases have the potential for
                   18         large punitive damages awards. Simmons, supra, 209 F. Supp. 2d at 1033. A punitive
                   19         damages award may equal as much as four times the amount of the actual damages
                   20         award. State Farm Mutual Auto Ins. Co. v. Campbell, 538 U.S. 408, 425 (2003). For
                   21         example, in Aucina v. Amoco Oil, Co., 871 F.Supp. 332 (S.D. Iowa 1994), the defendant
                   22         employer established that the amount in controversy exceeded the jurisdictional
                   23         minimum in a discrimination and wrongful discharge lawsuit where the former
                   24         employee asserted claims for lost wages, lost benefits, mental anguish, and punitive
                   25         damages. The court noted that “[b]ecause the purpose of punitive damages is to capture
                   26         a defendant’s attention and deter others from similar conduct,” the plaintiff’s claim for
                   27         punitive damages “alone might” exceed the jurisdictional minimum.            Id. at 334.
                   28         Although Defendants vigorously deny Plaintiff’s allegations, if Plaintiff were to prevail
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                          1   on her punitive damages claim, that amount alone could exceed the jurisdictional
                          2   minimum.
                          3          31.      Plaintiff also seeks such open-ended relief as “such other relief as the Court
                          4   deems necessary, just and proper.”           (Exhibit A, Complaint, p. 17, Prayer, ¶ 6.)
                          5   Although uncertain in amount, these additional damages claims only serve to increase
                          6   the amount in controversy. See, Lewis v. Exxon Mobil Corp., 348 F. Supp. 2d 932, 932-
                          7   934 (W.D. Tenn. 2004) (the “open ended” relief sought by plaintiff, who prayed for
                          8   “judgment to be determined by a jury, for all incidental, consequential, compensatory
                          9   and punitive damages” established that his case met the amount in controversy
                   10         requirement even though she pleaded in the complaint that she did not assert a claim in
                   11         excess of $75,000.)
                   12                32.      Based upon the pleadings, it does not appear to a “legal certainty that the
                   13         claim is really for less than” the amount in controversy minimum. Spielman v. Genzyme
                   14         Corp., 251 F.3d 1, 5 (1st Cir. 2001) (quoting St. Paul Mercury Indem. Co. v. Red Cab
                   15         Co., 303 U.S. 283, 288-89 (1938)). Thus, Defendants have carried their burden of
                   16         demonstrating by a preponderance of the evidence that the amount in controversy in
                   17         this matter clearly exceeds the jurisdictional minimum of $75,000.
                   18                33.      For these reasons, this action is a civil action over which this Court has
                   19         original jurisdiction pursuant to Section 1332, and which may be removed by
                   20         Defendants to this Court pursuant to 28 U.S.C. section 1441 based on diversity
                   21         jurisdiction.
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                          1                    NOTICE TO STATE COURT AND PLAINTIFF
                          2         34.    Contemporaneously with the filing of this Notice of Removal in the United
                          3   States District Court for the Central District of California, written notice of such filing
                          4   will be given by the undersigned to Raymond E. Hane III and Nicholas A. Hane of
                          5   California Employment Counsel APC, Plaintiff’s counsel of record. In addition, a copy
                          6   of this Notice of Removal will be filed with the Clerk of the Superior Court of the State
                          7   of California for the County of Los Angeles.
                          8
                          9
                              Dated:       May 31, 2022
                   10                                                        LITTLER MENDELSON, P.C.
                   11
                   12
                   13                                                        Ian G. Robertson
                   14                                                        Katharine McCall

                   15                                                        Attorneys for Defendants
                                                                             BEAUTY SYSTEMS GROUP, LLC and
                   16                                                        SALLY BEAUTY HOLDINGS, INC.

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                          1                            PROOF OF SERVICE BY MAIL
                          2                I am employed in Orange County, California. I am over the age of
                          3   eighteen years and not a party to the within-entitled action. My business address is
                          4   18565 Jamboree Road, Suite 800, Irvine, California 92612. I am readily familiar with
                          5   this firm’s practice for collection and processing of correspondence for mailing with
                          6   the United States Postal Service. On May 31, 2022, I had EXPRESS NETWORK
                          7   deposit with the United States Postal Service a true and correct copy of the within
                          8   document(s):
                          9                NOTICE TO FEDERAL COURT OF REMOVAL OF
                   10                      CIVIL ACTION FROM STATE COURT PURSUANT
                                           TO 28 U.S.C. SECTIONS 1332(A)(1), 1441, AND 1446
                   11
                              in a sealed envelope, postage fully paid, addressed as follows:
                   12                        Raymon E. Hane III, Esq.
                   13                        Nicholas A. Hane, Esq.
                                             CALIFORNIA EMPLOYMENT COUNSEL, APC
                   14                        600 Anton Blvd., Suite 1100
                   15                        Costa Mesa, CA 92626
                                             Phone:              714.462.8376
                   16                        Email:       rhane@employment-counsel.com
                   17                                     nhane@employment-counsel.com
                   18
                                             Attorneys for Plaintiff
                   19                        Noemi Gomez
                   20                      Following ordinary business practices, the envelope was sealed and
                   21         placed for collection and mailing on this date, and would, in the ordinary course of
                   22         business, be deposited with the United States Postal Service on this date.
                   23                      I declare that I am employed in the office of a member of the bar of this
                   24         court at whose direction the service was made.
                   25                      Executed on May 31, 2022, at Irvine, California.
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                   27
                                                                                    Cecilia Mendoza
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                              Attorneys for Defendants
                          7   BEAUTY SYSTEMS GROUP LLC and
                              SALLY BEAUTY HOLDINGS, INC.
                          8

                          9                               SUPERIOR COURT OF THE STATE OF CALIFORNIA

                    10                                                         COUNTY OF LOS ANGELES

                    11

                    12        NOEMI GOMEZ,                                                                  Case No. 22STCV13843

                    13                                Plaintiff,                                            DEFENDANTS’ ANSWER TO
                                                                                                            PLAINTIFF’S UNVERIFIED
                    14                 v.                                                                   COMPLAINT

                    15        BEAUTY SYSTEMS GROUP LLC, SALLY                                               ASSIGNED FOR ALL PURPOSES TO THE
                              BEAUTY HOLDINGS, INC., JENNIFER                                               HON. WILLIAM FAHEY, DEPT. 69
                    16        MARTINEZ, and DOES 1 through 2, inclusive,

                    17                                Defendants.                                           Trial Date: Not Set
                                                                                                            Complaint Filed: April 26, 2022
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                          1            Defendants BEAUTY SYSTEMS GROUP LLC and SALLY BEAUTY HOLDINGS, INC.

                          2   (“Defendants”) hereby answer the unverified Complaint (“Complaint”) of Plaintiff NOEMI GOMEZ

                          3   (“Plaintiff”), as follows:

                          4                                               GENERAL DENIAL

                          5                      Pursuant to Code of Civil Procedure section 431.30, subdivision (d), Defendants deny

                          6   each and every allegation contained in the Complaint and deny that Plaintiff was injured or damaged

                          7   as alleged, or at all.

                          8                                          AFFIRMATIVE DEFENSES

                          9            Defendants further assert the following affirmative defenses. By asserting these defenses,

                    10        Defendants do not concede that they have the burden of proof as to any affirmative defenses asserted

                    11        below. Defendants do not presently know all the facts concerning the conduct of Plaintiff sufficient

                    12        to state all affirmative defenses at this time. Defendants will seek leave to amend this Answer should

                    13        they later discover facts demonstrating the existence of additional affirmative defenses.

                    14                                            FIRST AFFIRMATIVE DEFENSE

                    15                                            (Failure to State a Cause of Action)

                    16                 1.        As a separate and distinct affirmative defense, Defendants allege that the Complaint

                    17        and each cause of action set forth therein fail to state facts sufficient to constitute a cause of action

                    18        against Defendants.

                    19                                          SECOND AFFIRMATIVE DEFENSE

                    20                                                  (Statutes of Limitation)

                    21                 2.        As a separate and distinct affirmative defense, Defendants allege that Plaintiff’s claims

                    22        are barred, in whole or in part, by the applicable statutes of limitation, including but not limited to

                    23        California Government Code sections 12960(d) and 12965(b), and California Code of Civil Procedure

                    24        sections 335.1, 337, and 339.

                    25                                           THIRD AFFIRMATIVE DEFENSE

                    26                                                     (Waiver of Rights)

                    27                 3.        As a separate and distinct affirmative defense, Defendants allege that any recovery of

                    28        Plaintiff’s Complaint is barred, in whole or in part, to the extent that Plaintiff, by reason of her acts,
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                          1   conduct, and/or omissions, has waived or released her rights, if any, to obtain the relief sought in the

                          2   Complaint.

                          3                                     FOURTH AFFIRMATIVE DEFENSE

                          4                                                     (Estoppel)

                          5            4.        As a separate and distinct affirmative defense, Defendants allege that any recovery on

                          6   Plaintiff’s Complaint is barred, in whole or in part, to the extent that Plaintiff, by reason of her acts,

                          7   conduct, and/or omissions, is estopped from obtaining the relief sought in the Complaint.

                          8                                      FIFTH AFFIRMATIVE DEFENSE

                          9                                                      (Laches)

                    10                 5.        As a separate and distinct affirmative defense, Defendants allege that Plaintiff’s claims

                    11        are barred, in whole or in part, by the doctrine of laches.

                    12                                           SIXTH AFFIRMATIVE DEFENSE

                    13                                                 (Avoidable Consequences)

                    14                 6.        As a separate and distinct affirmative defense, Defendants allege that a reasonable

                    15        opportunity for investigation and discovery will reveal that any damages that would otherwise be

                    16        recoverable by Plaintiff (while denying that any such damages exist) should be limited by virtue of

                    17        the doctrine of avoidable consequences as set forth in State Department of Health Services v. Superior

                    18        Court, 31 Cal. 4th 1026, 1043 (2003), because: (a) Defendants exercised reasonable care to prevent

                    19        and correct promptly any unlawful behavior including, but not limited to, having in place appropriate

                    20        policies and procedures; and (b) Plaintiff unreasonably failed to take advantage of any preventive or

                    21        corrective opportunities provided by Defendants or to “otherwise avoid harm” as that expression is

                    22        used in Burlington Northern Industries, Inc. v. Ellerth, 524 U.S. 742 (1998), and Faragher v. City of

                    23        Boca Raton, 524 U.S. 775 (1998); and (c) Plaintiff’s reasonable use of Defendants’ policies and

                    24        procedures would have prevented at least some, if not all, of the purported harm of which Plaintiff

                    25        now complains.

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                          1                                        SEVENTH AFFIRMATIVE DEFENSE

                          2                                                   (Unclean Hands)

                          3            7.        As a separate and distinct affirmative defense, Defendants allege that Plaintiff’s claims

                          4   are barred, in whole or in part, by the doctrine of unclean hands.

                          5                                         EIGHTH AFFIRMATIVE DEFENSE

                          6                                           (Res Judicata/Collateral Estoppel)

                          7            8.        As a separate and distinct affirmative defense, Defendants are informed and believe

                          8   that further investigation and discovery will reveal, and on that basis allege, that the Complaint and

                          9   each cause of action set forth therein are barred, in whole or in part by the doctrine of res judicata

                    10        and/or collateral estoppel.

                    11                                               NINTH AFFIRMATIVE DEFENSE

                    12                                          (Failure to Exhaust Administrative Remedies)

                    13                 9.        As a separate and distinct affirmative defense, Defendants allege that the Complaint

                    14        and each cause of action set forth therein are barred in whole or in part to the extent that Plaintiff failed

                    15        to exhaust her administrative remedies, and that such failure bars this Complaint in whole or in part.

                    16        Defendants allege that to the extent the claim is governed by the California Department of Fair

                    17        Employment and Housing as set out in California Government Code section 12960, Plaintiff failed to

                    18        exhaust her administrative remedies with the California Department of Fair Employment and Housing

                    19        (“DFEH”) and/or the Equal Employment Opportunity Commission (“EEOC”).

                    20                                              TENTH AFFIRMATIVE DEFENSE

                    21                                             (Failure to Exhaust Internal Remedies)

                    22                 10.       As a separate and distinct affirmative defense, Defendants allege that the Complaint

                    23        and each cause of action set forth therein are barred, in whole or in part, by Plaintiff’s failure to exhaust

                    24        appropriate internal remedies.

                    25                                            ELEVENTH AFFIRMATIVE DEFENSE

                    26                                         (Claims Exceed Scope of Administrative Charges)

                    27                 11.       As a separate and affirmative defense to the Complaint and each purported cause of

                    28        action therein, Defendants are informed and believe that further investigation and discovery will
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                          1   reveal, that the Complaint and each cause of action set forth therein, or some of them, are barred in

                          2   whole or in part because, assuming arguendo that Plaintiff did attempt to exhaust any applicable

                          3   administrative remedies, the causes of action asserted in the Complaint exceed the scope of any

                          4   Charges filed.

                          5                                     TWELFTH AFFIRMATIVE DEFENSE

                          6                                            (After-Acquired Evidence)

                          7            12.       As a separate and distinct affirmative defense, Defendants allege that to the extent that

                          8   during the course of this litigation they acquire any evidence of additional wrongdoing by Plaintiff,

                          9   which wrongdoing would have materially affected the terms and conditions of Plaintiff’s employment

                    10        and/or would have resulted in Plaintiff either being demoted, disciplined, or terminated, such after-

                    11        acquired evidence shall bar Plaintiff’s claims on liability or damages or shall reduce such claims as

                    12        provided by law.

                    13                                         THIRTEENTH AFFIRMATIVE DEFENSE

                    14                                                          (Consent)

                    15                 13.       As a separate and distinct affirmative defense, Defendants allege that Plaintiff

                    16        consented to, encouraged, or voluntarily participated in all actions taken, if any.

                    17                                         FOURTEENTH AFFIRMATIVE DEFENSE

                    18                                                       (Same Decision)

                    19                 14.       As a separate and affirmative defense, Defendants allege that, without admitting that

                    20        any unlawful or wrongful acts took place, if any unlawful motive existed in connection with any

                    21        employment decision involving Plaintiff, which Defendants deny, Plaintiff’s causes of action are

                    22        barred because such employment decision would have been the same even without any such unlawful

                    23        or retaliatory motive.

                    24                                         FIFTEENTH AFFIRMATIVE DEFENSE

                    25                                              (Outside of Scope of Authority)

                    26                 15.       As a separate and affirmative defense to the Complaint and each purported cause of

                    27        action therein, Defendants allege that some or all of the causes of action in the Complaint cannot be

                    28        maintained against Defendants because if employees of Defendants took the actions alleged, such
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                          1   actions were committed outside the course and scope of such employees’ employment, were not

                          2   authorized, adopted, or ratified by Defendants, and Defendants did not know of nor should they have

                          3   known of such conduct.

                          4                                      SIXTEENTH AFFIRMATIVE DEFENSE

                          5                                                (Managerial Privilege)

                          6            16.       As a separate and affirmative defense, Defendants allege that Plaintiff’s Complaint

                          7   cannot be maintained because Defendants allege that their conduct (and the conduct of Defendants’

                          8   officers, managers, or employees while acting in the course and scope of employment) is protected by

                          9   the managerial privilege in that all actions taken with respect to Plaintiff’s employment were

                    10        undertaken and exercised with proper managerial discretion in good faith, and for proper, lawful

                    11        reasons.

                    12                                         SEVENTEENTH AFFIRMATIVE DEFENSE

                    13                                             (Prejudgment Interest Impermissible)

                    14                 17.       As a separate and affirmative defense, Defendants allege that Plaintiff’s Complaint fails

                    15        to properly state a claim on which prejudgment interest may be awarded because the amount of any

                    16        damages is not reasonably certain.

                    17                                          EIGHTEENTH AFFIRMATIVE DEFENSE

                    18                                                          (Mitigation)

                    19                 18.       As a separate and distinct affirmative defense, Defendants allege that Plaintiff’s claims

                    20        are barred to the extent that she failed to mitigate her damages.

                    21                                          NINETEENTH AFFIRMATIVE DEFENSE

                    22                                         (Legitimate Business Reason and in Good Faith)

                    23                 19.       As a separate and distinct affirmative defense, Defendants allege that they acted

                    24        reasonably and in good faith at all times material herein based on all relevant facts and circumstances

                    25        known at the time and that all actions taken with regard to Plaintiff were taken for legitimate, non-

                    26        discriminatory, and non-retaliatory business reasons.

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                          1                                      TWENTIETH AFFIRMATIVE DEFENSE

                          2                                            (Not Severe or Pervasive)

                          3            20.       As a separate and distinct affirmative defense, Defendants are informed and believe

                          4   that further investigation and discovery will reveal, and on that basis allege, to the extent the conduct

                          5   alleged in the Complaint occurred (which Defendants deny), it was not sufficiently severe or pervasive

                          6   to constitute actionable harassment based on age, disability status, perceived disability status, or any

                          7   other protected basis, or to alter the terms and conditions of Plaintiff’s employment.

                          8                                     TWENTY-FIRST AFFIRMATIVE DEFENSE

                          9                                            (Workplace Obligations)

                    10                 21.       As a separate and affirmative defense, Defendants allege that they have satisfied their

                    11        obligations to ensure a workplace free of discrimination and retaliation.

                    12                                         TWENTY-SECOND AFFIRMATIVE DEFENSE

                    13                                               (Reasonable Accommodation)

                    14                 22.       As a separate and distinct affirmative defense, Defendants allege that assuming,

                    15        arguendo, Plaintiff was disabled, Plaintiff did not fully participate in and/or exhaust her obligation to

                    16        request a reasonable accommodation.

                    17                                         TWENTY-THIRD AFFIRMATIVE DEFENSE

                    18                                                        (Hardship)

                    19                 23.       As a separate and distinct affirmative defense, Defendants allege that the Complaint

                    20        and each cause of action set forth therein is barred because any alleged accommodations that Plaintiff

                    21        purportedly sought or now claims should have been offered were above and beyond what Defendants

                    22        were reasonably able to provide and would have caused Defendants an undue hardship and burden.

                    23                                         TWENTY-FOURTH AFFIRMATIVE DEFENSE

                    24                                                    (Corrective Action)

                    25                 24.       As a separate and distinct affirmative defense, Defendants allege that the Complaint

                    26        and each cause of action set forth therein is barred because, at all relevant times, Defendants took

                    27        prompt and appropriate corrective action in response to Plaintiff’s workplace concerns, thereby

                    28        satisfying all legal obligations they had to Plaintiff, if any.
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                          1                                     TWENTY-FIFTH AFFIRMATIVE DEFENSE

                          2                                                (Justified Treatment)

                          3            25.       As a separate and distinct affirmative defense, Defendants allege that, assuming,

                          4   arguendo, Plaintiff was treated differently from other employees (which Defendants deny), such

                          5   treatment was fully justified on differences in individual duties, skill, effort, responsibility, difference

                          6   in working conditions and/or difference in other reasonable factors other than her alleged disability.

                          7                                     TWENTY-SIXTH AFFIRMATIVE DEFENSE

                          8                                               (Alternative Stressors)

                          9            26.       As a separate and affirmative defense, Defendants allege that if Plaintiff suffered any

                    10        emotional distress, her emotional distress was caused by factors other than Plaintiff’s employment,

                    11        the actions of Defendants, or anyone acting on Defendants’ behalf. Defendants further allege that

                    12        Plaintiff contributed to her own distress and, by reason of her contribution, any remedy to which she

                    13        might otherwise be entitled must be denied or reduced accordingly.

                    14                                         TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                    15                                            (Attorneys’ Fees and Costs Unwarranted)

                    16                 27.       As a separate and distinct affirmative defense, Defendants are informed and believe

                    17        that a reasonable opportunity for investigation and discovery will reveal, and on that basis allege, that

                    18        Plaintiff’s Complaint, and each cause of action alleged therein, is barred, in whole or in part, because

                    19        Plaintiff has failed to state facts sufficient to entitle her to costs of suit incurred herein and/or an award

                    20        of attorneys’ fees.

                    21                                         TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                    22                                                      (Reasonable Care)

                    23                 28.       As a separate and distinct affirmative defense, Defendants allege that Plaintiff failed to

                    24        exercise reasonable and ordinary care, caution or prudence and that the alleged injuries and damages,

                    25        if any in fact were suffered, were proximately caused and/or contributed to by Plaintiff’s own negligent

                    26        and/or intentional conduct and any recovery to which Plaintiff might be entitled must be reduced by

                    27        reason of Plaintiff’s contributory and/or comparative negligence.

                    28
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    18565 Jamboree Road


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           Suite 800
      Irvine, CA 92612
        949.705.3000


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                          1                                    TWENTY-NINTH AFFIRMATIVE DEFENSE

                          2                                                (Exclusive Remedy)

                          3            29.       As a separate and distinct affirmative defense, Defendants allege that the Complaint,

                          4   and each cause of action alleged therein, seeking damages for emotional and/or physical injury are

                          5   preempted and barred by the exclusive remedy provisions of the California Workers’ Compensation

                          6   Act, California Labor Code § 132a and 3600, et seq., in that: (1) the injuries complained of allegedly

                          7   occurred when both Plaintiff and Defendants were subject to California Labor Code §§ 3600 to 3601;

                          8   (2) at the time of the alleged injuries, Plaintiff was performing services incidental to her employment

                          9   and was acting within the course and scope of her employment; (3) Plaintiff alleges that the injuries

                    10        were caused by her employment; (4) Plaintiff’s employment was covered by workers’ compensation;

                    11        and (5) Defendants paid the entire costs for that coverage. Accordingly, the Court lacks subject matter

                    12        jurisdiction over said claims.

                    13                                           THIRTIETH AFFIRMATIVE DEFENSE

                    14                                                           (Offset)

                    15                 30.       As a separate and distinct affirmative defense, Defendants allege that further

                    16        investigation and discovery will reveal that Defendants are entitled to an offset against any relief due

                    17        Plaintiff, based upon her wrongful conduct and/or monies owed to Defendants.

                    18                                         THIRTY-FIRST AFFIRMATIVE DEFENSE

                    19                                                     (Good Faith Effort)

                    20                 31.       As a separate and distinct affirmative defense, Defendants allege that their good faith

                    21        efforts to prevent discrimination, retaliation, and any other unlawful acts bars any award for punitive

                    22        damages or exemplary damages as set forth in Kolstad v. Am. Dental Assn., 527 U.S. 526 (1999).

                    23                                         THIRTY-SECOND AFFIRMATIVE DEFENSE

                    24                                     (Failure to State Facts to Support Punitive Damages)

                    25                 32.       As a separate and affirmative defense, Defendants allege that they did not act with

                    26        malice, oppression, or fraud, nor did they engage in any despicable acts that would warrant the

                    27        imposition of punitive damages. Thus, Plaintiff’s Complaint fails to state facts sufficient to support a

                    28        claim for punitive damages.
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                          1                                    THIRTY-THIRD AFFIRMATIVE DEFENSE

                          2                                         (Punitive Damages Unconstitutional)

                          3            33.       As a separate and affirmative defense, Defendants allege that Plaintiff is not entitled to

                          4   recover punitive damages because the imposition of such damages violates the United States and

                          5   California Constitutions, in that: (1) such damages are so punitive in purpose and effect as to constitute

                          6   a criminal penalty, entitling Defendants to rights to be given to Defendants in criminal proceedings

                          7   under the United States and California Constitutions; (2) such damages constitute an impermissible

                          8   restriction on speech and a violation of the First Amendment of the United States Constitution; (3) the

                          9   imposition of such damages would violate Defendants’ rights to due process and/or equal protection

                    10        under the law, under the United States and California Constitutions; and/or (4) the California punitive

                    11        damages statute is unconstitutional in that it imposes an undue burden on interstate commerce.

                    12                                         THIRTY-FOURTH AFFIRMATIVE DEFENSE

                    13                                         (Emotional Distress Damages Unconstitutional)

                    14                 34.       As separate and affirmative defense to the Complaint and each purported cause of

                    15        action therein, Defendants are informed and believe that a reasonable opportunity for investigation

                    16        and discovery will reveal, and on that basis allege that Plaintiff is not entitled to recover emotional

                    17        distress damages because California’s system of emotional distress damages is unconstitutional under

                    18        State Farm Mutual Automobile Insurance Co. v. Campbell, 538 U.S. 408 (2003), as well as the United

                    19        States and California Constitutions.

                    20                                         THIRTY-FIFTH AFFIRMATIVE DEFENSE

                    21                                                      (Frivolous Lawsuit)

                    22                 35.       As a separate and affirmative defense, Defendants are informed and believe that a

                    23        reasonable opportunity for investigation and discovery will reveal, and on that basis allege, that

                    24        Plaintiff’s causes of action are unreasonable, and/or were filed in bad faith and/or are frivolous and,

                    25        for that reason, justify an award of attorneys’ fees and costs against Plaintiff and her attorneys.

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                          1                                     THIRTY-SIXTH AFFIRMATIVE DEFENSE

                          2                                           (Not Defendants’ Employee)

                          3            36.       As a separate and distinct affirmative defense, Defendants allege that the Complaint

                          4   and each cause of action alleged therein are barred because Plaintiff was not employed by one or more

                          5   of Defendants at times relevant to this lawsuit.

                          6                                    THIRTY-SEVENTH AFFIRMATIVE DEFENSE

                          7                                                  (Arbitration)

                          8            37.       Defendants allege that the Complaint and each cause of action alleged therein are

                          9   barred because the Court lacks jurisdiction over this matter in whole or in part. The Complaint and

                    10        each cause of action set forth therein are subject to binding arbitration. Defendants reserve the right

                    11        to file a timely motion to compel arbitration if the parties are unable to come to an agreement on this

                    12        issue.

                    13                                         THIRTY-EIGHTH AFFIRMATIVE DEFENSE

                    14                                                (Repudiation of Sole Forum)

                    15                 38.       Defendants allege that Plaintiff’s Complaint and each purported cause of action therein

                    16        cannot be maintained because Plaintiff has knowingly refused to pursue and has thus repudiated her

                    17        arbitration remedies by filing the instant action. See Charles J. Rounds Co. v. Joint Counsel of

                    18        Teamsters No. 42 (1971) 4 Cal.3d 888, 899; Martinez v. Scott Specialty Gases, Inc. (2000) 83

                    19        Cal.App.4th 1236; 24 Hour Fitness v. Superior Court (1988) 66 Cal.App.4th 1199.

                    20                                          THIRTY-NINTH AFFIRMATIVE DEFENSE

                    21                                                  (Reservation of Rights)

                    22                 39.       As a separate and distinct affirmative defense, Defendants allege that the Complaint

                    23        does not describe the claims or facts being alleged with sufficient particularity to permit Defendants

                    24        to ascertain what other defenses may exist. Defendants will rely on any and all further defenses that

                    25        become available or appear during discovery in this action and specifically reserves the right to amend

                    26        their Answer for purposes of asserting such additional defenses.

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                          1                                                     PRAYER

                          2            WHEREFORE, Defendants pray that:

                          3            1.        Plaintiff’s Complaint be dismissed in its entirety with prejudice;

                          4            2.        Plaintiff takes nothing by her action against Defendants;

                          5            3.        Defendants be awarded their attorneys’ fees and costs; and

                          6            4.        Defendants be awarded such other and further relief as the Court deems just and proper.

                          7
                              Dated: May 26, 2022
                          8                                                            LITTLER MENDELSON, P.C.
                          9
                    10
                                                                                       Ian G. Robertson
                    11
                                                                                       Attorneys for Defendants
                    12                                                                 BEAUTY SYSTEMS GROUP LLC and SALLY
                                                                                       BEAUTY HOLDINGS, INC.
                    13

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                          1                                               PROOF OF SERVICE

                          2

                          3                      I am a resident of the State of California, over the age of eighteen years, and not a party

                          4   to the within action. My business address is 18565 Jamboree Road, Suite 800, Irvine, California

                          5   92612. On May 26, 2022, I served the within document(s):

                          6                      DEFENDANTS’ ANSWER TO PLAINTIFF’S UNVERIFIED
                                                 COMPLAINT
                          7

                          8                      by having EXPRESS NETWORK place a true copy of the document(s) listed above
                                                  for collection and mailing following the firm’s ordinary business practice in a sealed
                          9                       envelope with postage thereon fully prepaid for deposit in the United States mail at
                                                  Irvine, California addressed as set forth below.
                    10

                    11
                                                 by depositing a true copy of the same enclosed in a sealed envelope, with delivery
                                                  fees provided for, in an overnight delivery service pick up box or office designated
                                                  for overnight delivery, and addressed as set forth below.
                    12

                    13                           by personally delivering a copy of the document(s) listed above to the person(s) at
                                                  the address(es) set forth below.
                    14

                    15
                                                 by causing a copy of the document(s) listed above to the person(s) at the address(es)
                                                  set forth below to be personally delivered by EXPRESS NETWORK.

                    16
                                                 courtesy copy by email. The electronica address of the person making the service
                                                  is cmendoza@littler.com.
                    17

                    18                           BY FTB BISCOM SITE. I caused the above-entitled document to be served by VIA
                                                  BISCOM addressed to all parties appearing on the service list for this case.
                    19

                    20                           Based on a court order or an agreement of the parties to accept service by e-mail or
                                                  electronic transmission, I caused the documents to be sent to the persons at the e-
                                                  mail addresses on the attached service list on the dates and at the times stated thereon.
                    21
                                                  I did not receive, within a reasonable time after the transmission, any electronic
                    22                            message or other indication that the transmission was unsuccessful. The electronic
                                                  notification address of the person making the service is cmendoza@littler.com.
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      Irvine, CA 92612
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                                 Nicholas A. Hane, Esq.
                          2      CALIFORNIA EMPLOYMENT COUNSEL, APC
                          3      600 Anton Blvd., Suite 1100
                                 Costa Mesa, CA 92626
                          4      Phone:        714.462.8376

                          5      Email:              rhane@employment-counsel.com
                                                     nhane@employment-counsel.com
                          6

                          7      Attorneys for Plaintiff
                                 Noemi Gomez
                          8
                                                 I am readily familiar with the firm's practice of collection and processing
                          9
                              correspondence for mailing and for shipping via overnight delivery service. Under that practice it
                    10
                              would be deposited with the U.S. Postal Service or if an overnight delivery service shipment, deposited
                    11
                              in an overnight delivery service pick-up box or office on the same day with postage or fees thereon
                    12
                              fully prepaid in the ordinary course of business.
                    13
                                                 I declare under penalty of perjury under the laws of the State of California that the
                    14
                              above is true and correct. Executed on May 26, 2022, at Irvine, California.
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                                                                                                 Cecilia Mendoza
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                                                   DEFENDANTS’ ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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                          1                                               PROOF OF SERVICE

                          2

                          3                      I am a resident of the State of California, over the age of eighteen years, and not a party

                          4   to the within action. My business address is 18565 Jamboree Road, Suite 800, Irvine, California

                          5   92612. On May 31, 2022, I served the within document(s):

                          6                      NOTICE TO STATE COURT AND ADVERSE PARTIES OF
                                                 REMOVAL TO FEDERAL COURT
                          7

                          8                      by having EXPRESS NETWORK place a true copy of the document(s) listed above
                                                  for collection and mailing following the firm’s ordinary business practice in a sealed
                          9                       envelope with postage thereon fully prepaid for deposit in the United States mail at
                                                  Irvine, California addressed as set forth below.
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                    11
                                                 by depositing a true copy of the same enclosed in a sealed envelope, with delivery
                                                  fees provided for, in an overnight delivery service pick up box or office designated
                                                  for overnight delivery, and addressed as set forth below.
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                    13                           by personally delivering a copy of the document(s) listed above to the person(s) at
                                                  the address(es) set forth below.
                    14

                    15
                                                 by causing a copy of the document(s) listed above to the person(s) at the address(es)
                                                  set forth below to be personally delivered by EXPRESS NETWORK.

                    16
                                                 courtesy copy by email. The electronica address of the person making the service
                                                  is cmendoza@littler.com.
                    17

                    18                           BY FTB BISCOM SITE. I caused the above-entitled document to be served by VIA
                                                  BISCOM addressed to all parties appearing on the service list for this case.
                    19

                    20                           Based on a court order or an agreement of the parties to accept service by e-mail or
                                                  electronic transmission, I caused the documents to be sent to the persons at the e-
                                                  mail addresses on the attached service list on the dates and at the times stated thereon.
                    21
                                                  I did not receive, within a reasonable time after the transmission, any electronic
                    22                            message or other indication that the transmission was unsuccessful. The electronic
                                                  notification address of the person making the service is cmendoza@littler.com.
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LITTLER MEND ELSO N, P.C.     4872-8528-1056.1 / 116245-1000
    18565 Jamboree Road


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           Suite 800
      Irvine, CA 92612
        949.705.3000


                                       NOTICE TO STATE COURT AND ADVERSE PARTIES OF REMOVAL TO FEDERAL COURT
                          Case 2:22-cv-03685-MAA Document 6 Filed 05/31/22 Page 93 of 94 Page ID #:192



                          1      Raymon E. Hane III, Esq.
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                                 Costa Mesa, CA 92626
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                          5      Email:              rhane@employment-counsel.com
                                                     nhane@employment-counsel.com
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                          7      Attorneys for Plaintiff
                                 Noemi Gomez
                          8
                                                 I am readily familiar with the firm's practice of collection and processing
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                              correspondence for mailing and for shipping via overnight delivery service. Under that practice it
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                              would be deposited with the U.S. Postal Service or if an overnight delivery service shipment, deposited
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                              in an overnight delivery service pick-up box or office on the same day with postage or fees thereon
                    12
                              fully prepaid in the ordinary course of business.
                    13
                                                 I declare under penalty of perjury under the laws of the State of California that the
                    14
                              above is true and correct. Executed on May 31, 2022, at Irvine, California.
                    15

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                    17                                                                           Cecilia Mendoza
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    18565 Jamboree Road


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           Suite 800
      Irvine, CA 92612
        949.705.3000


                                       NOTICE TO STATE COURT AND ADVERSE PARTIES OF REMOVAL TO FEDERAL COURT
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                          1                            PROOF OF SERVICE BY MAIL
                          2                I am employed in Orange County, California. I am over the age of
                          3   eighteen years and not a party to the within-entitled action. My business address is
                          4   18565 Jamboree Road, Suite 800, Irvine, California 92612. I am readily familiar with
                          5   this firm’s practice for collection and processing of correspondence for mailing with
                          6   the United States Postal Service. On May 31, 2022, I had EXPRESS NETWORK
                          7   deposit with the United States Postal Service a true and correct copy of the within
                          8   document(s): CERTIFICATE OF SERVICE OF NOTICE TO STATE COURT
                          9   AND ADVERSE PARTIES OF REMOVAL TO FEDERAL COURT in a sealed
                   10         envelope, postage fully paid, addressed as follows:
                   11                        Raymon E. Hane III, Esq.
                   12                        Nicholas A. Hane, Esq.
                                             CALIFORNIA EMPLOYMENT COUNSEL, APC
                   13                        600 Anton Blvd., Suite 1100
                   14                        Costa Mesa, CA 92626
                                             Phone:            714.462.8376
                   15
                   16                        Email:       rhane@employment-counsel.com
                                                          nhane@employment-counsel.com
                   17
                   18                        Attorneys for Plaintiff
                                             Noemi Gomez
                   19
                                           Following ordinary business practices, the envelope was sealed and
                   20
                              placed for collection and mailing on this date, and would, in the ordinary course of
                   21
                              business, be deposited with the United States Postal Service on this date.
                   22
                                           I declare that I am employed in the office of a member of the bar of this
                   23
                              court at whose direction the service was made.
                   24
                                           Executed on May 31, 2022, at Irvine, California.
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                   26
                   27
                                                                                    Cecilia Mendoza
                   28
LITTLER MEND ELSO N, P.C.

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    18565 Jamboree Road
           Suite 800
      Irvine, CA 92612
        949.705.3000
